  Case 18-13674      Doc 16   Filed 05/29/18 Entered 05/29/18 16:08:43              Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                      )               BK No.:      18-13674
PAMELA D STRAIN,                            )
                                            )               Chapter: 7
                                            )
                                                           Honorable Deborah L. Thorne
                                            )
                                            )
              Debtor(s)                     )

                          ORDER MODIFYING THE AUTOMATIC STAY

        THIS CAUSE coming to be heard on the motion of Nationstar Mortgage LLC d/b/a Mr. Cooper,
by and through its attorneys, Shapiro Kreisman & Associates, LLC, the Court having jurisdiction, being
advised in the premises and due notice having been given;
IT IS HEREBY ORDERED:
1. That the automatic stay heretofore entered is modified to the extent necessary to allow Nationstar
Mortgage LLC d/b/a Mr. Cooper to foreclose the mortgage or, in its sole discretion, to accept a short
sale or deed in lieu of foreclosure on the real property commonly known as: 20471 Bluestem Parkway,
Lynwood, IL 60411.
2. That Federal Bankruptcy Rule 4001(a)(3) is not applicable to this order.




                                                        Enter:


                                                                 Honorable Deborah L. Thorne
Dated: May 29, 2018                                              United States Bankruptcy Judge

 Prepared by:
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